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                 EXHIBIT D
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April 5, 2023

Via Electronic Mail
Michael K. Krouse, Esq.
ARNOLD & PORTER LLP
250 W. 55th St.
New York, NY 10019
Michael.Krouse@arnoldport.com


            RE:       United States v. James Velissaris

Michael:

         Thank you for your letter of earlier today. In light of your response, could you please
clarify for me when you applied for the Enforcement Director position at the CFTC, and when you
were informed by the CFTC that you were not selected for the position?

        In addition, as you know, pursuant to Rule 1.7(b)(4) of the New York Rules of Professional
Responsibility, lawyers in a conflict of interest situation are required to obtain informed consent
in writing from the affected client before the lawyer can continue to represent him. Please confirm
that you asked for and received written consent from Mr. Velissaris at some point during the
pendency of your application with the CFTC, and when you received it. As a final matter, since
your representation related to a pending trial matter in SDNY, did you notify Judge Cote?

                                                          Sincerely,



                                                          William R. Martin



cc:       Paul J. Fishman, Esq.
          Veronica E. Callahan, Esq.
          Kathleen Reilly, Esq.
